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SENTENCING MINUTES



DATE : LjU'l iQ                     CASE NUMBER:


JUDGE                               CT REPORTER:


INTERPRETER:



UNITED STATES OF AMERICA                           I^Ormcin                  AusA
V.                                                    COUNSEL


                     ANatSOn            (\fjririy.'TaOf\'^dj N ,esq.
                                               ( )Criminal Information
SENTENCING ON COUNT{S):                         ( )Indictment(^Superseding Ind.

OBJECTIONS TO PSR:




PRELIMINARY MATTERS:




STATEMENTS MADE BY: GOV'T            DEFENSE COUNSEL(         DEFT(


ON MOTION OF GOVT,( )INDICTMENT (^/fREMAINING CTS. DISMISSED.


DEFT ADVISED OF RIGHT OF APPEAL within 14 days of today {

DEFT REMANDED TO CUSTODY (

DEFENDANT TO VOLUNTARILY REPORT TO DESIGNATED INSTITUTION
ON:                             BY:
( )IF NO DESIGNATION MADE, REPORT TO U.S. MARSHAL IN RICHMOND

CASE SET:       BEGAN:           ENDED:            TIME IN COURT:        ,

p.:DOf>fr^
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